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 Notice of Appeal Criminal                                                                                     Rev. 3/88




 UNITED STATES OF AMERICA                                    )
                                                             )
                          vs.                                )        Criminal No. 21-CR-00222 (TFH)
                                                             )
 JULIAN ELIE KHATER                                          )


                                             NOTICE OF APPEAL

                                                             Julian Elie Khater
Name and address of appellant:
                                                             Correctional Treatment Facility
                                                             1901 E St., S.E.
                                                             Washington, D.C. 20003

                                                             Joseph Tacopina, Esq.
Name and address of appellant’s attorney:                    Chad Seigel, Esq.
                                                             Tacopina Seigel & DeOreo
                                                             275 Madison Avenue, 35th Floor
                                                             New York, N.Y. 10016
                                                             Tel: (212) 227-8877

Offense:   18 U.S.C. 372; 18 U.S.C. 111; 18 U.S.C. 231(a)(3); 18 USC 1512(c)(2); 18 U.S.C. 1752(a), 40 U.S.C. 5104(e)(2)(F)


Concise statement of judgment or order, giving date, and any sentence:
    05/12/2021: Order of Detention Pending Trial.



                                                                          Correctional Treatment Facility, 1901 E St., S.E.,
Name and institution where now confined, if not on bail:                  Washington, D.C. 20003


        I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.


 DATE                                                        APPELLANT

                                                             ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE
CJA, NO FEE
PAID USDC FEE
PAID USCA FEE
Does counsel wish to appear on appeal?                                     YES                NO
Has counsel ordered transcripts?                                           YES               NO
Is this appeal pursuant to the 1984 Sentencing Reform Act?                 YES                NO
